
PER CURIAM.
AFFIRMED. See Therrien v. State, 859 So.2d 585, 587 (Fla. 1st DCA) (rejecting appellant’s argument that section 775.21, Florida Statutes (2000), violated his right to procedural due process, because it did not require a hearing to determine whether he posed a danger to the public), review pending, No. SC03-2219 (Fla. Dec. 18, 2003). Accord Glenn v. State, 861 So.2d 1289 (Fla. 5th DCA 2004); Reyes v. State 854 So.2d 816 (Fla. 4th DCA 2003); Milks v. State, 848 So.2d 1167 (Fla. 2d DCA), review granted, 859 So.2d 514 (Fla.2003). We certify conflict with Espindola v. State, 855 So.2d 1281, 1290 (Fla. 3d DCA 2003).
WOLF, C.J., ERVIN and VAN NORTWICK, JJ., concur.
